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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

UBIQUITOUS CONNECTIVITY, LP, CASE NO.: 5:18-cv-00718-XR
Plaintiff,

Vv.
CITY OF SAN ANTONIO
Defendant. AFFIDAVIT OF SERVICE

 

 

Affidavit of Service
RQ. Way aA ‘or Romos , being duly sworn, depose and say as follows:

“I am a competent person more than 18 years of age and not a party to this action. I received the
documents stated below on July 13, 2018 instructing for the same to be delivered upon City of San
Antonio by making service upon City Clerk, Leticia M. Vacek.

That I delivered to: Cty Cleré loti C10L M. Uacale- rersonally
At this address: 100 Mihi tar Tlaza. and Floor

 

The following: Summons (Court Document #4); Plaintiff's Original Complaint for Patent
Infringement and Jury Demand (Court Document #1) ; Civil Cover Sheet
(Court Document #1-1); Exhibits to Complaint (Court Document #1-2).

Manner of Delivery: By personally delivering the documents to the person above.

Date and Time: Sulu \e, 20\% O+_1V'3O O&-m.

“I solemnly affirm under the penalties of perjury that the contents of this affidavit are true to the best

of my knowledge, information, and belief.” Further affiant sayeth naught.

“Luan i. Com’ Aral tx

 

 

 

Affiant Date
Texas Supreme Court authorization # T&¢ FEC #805. 2O5\|
Exp. 1-20-80 7 Oo8°
SWORN TO and SUBSCRIBED before me this ye day of_duliy
?
CoA
ee, cin SERVE Notary Public 1 ty and for the State 6 of Texas
$2: Ao fo Notary Public, State of Texas
By Lies Comm, Expires 11-24-2019
a ENS Notary ID 130451296

 

 

 

 

 

 
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Case 5:18-cv-00718-XR Document 4 Filed 07/12/18 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

UBIQUITOUS CONNECTIVITY, LP,
Plaintiff

Vv. Civil Action No. 5:18-CV—00718-XR

CITY OF SAN ANTONIO,
Defendant

SUMMONS IN A CIVIL ACTION >

TO: City of San Antonio
City Clerk
Leticia M. Vacek
719 S. Santa Rosa
San Antonio, TX 78204

 

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) —— or 60 days
if you are the United States or a United States Agency, or an office or employee of the United States described
in Fed. R. Civ. P. 12 (a)(2) or (3) —— you must serve on the plaintiff an answer to the attached complaint or a
motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the
plaintiff or plaintiff's attorney, whose name and address are:

Alexander Wyatt Wright
Wayne Wright LLP
5707 W. Interstate 10
San Antonio, TX 78201

If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.

JEANNETTE J. CLACK
CLERK OF COURT

s/MONICA GRANADOS-RAMOS
DEPUTY CLERK

 

 

 

ISSUED ON 2018-07-13 09:04:02
